




NO. 07-03-0547-CV



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL B



FEBRUARY 13, 2004



______________________________





BETTY ANN NEWBY, APPELLANT



V.



SHERIA EVANS, INDIVIDUALLY AND AS ADMINISTRATRIX OF THE

ESTATE OF GEORGE RALPH NEWBY, JR., DECEASED; DAN MOSER

INDIVIDUALLY AND AS TRUSTEE FOR MOSER AND STUBBLEFIELD

INVESTMENTS; MOSER INVESTMENTS, APPELLEES



_________________________________



FROM THE 84TH DISTRICT COURT OF HUTCHINSON COUNTY;



NO. 35,142; HONORABLE JACK YOUNG, JUDGE



_______________________________



Before JOHNSON, C.J., and QUINN and CAMPBELL, JJ. &nbsp;

MEMORANDUM OPINION

On December 30, 2003, the clerk of this court received a copy of a Notice of Appeal &nbsp;filed on behalf of appellant Betty Ann Newby. &nbsp;By letter dated January 5, 2004, the clerk advised appellant that 
a filing fee had not been received, 
see
 
Tex. R. App. P
. 5
, 
nor had a docketing statement been filed. &nbsp;
See
 
Tex. R. App. P
. 32.1
. &nbsp;The clerk’s letter likewise advised that 
no further action would be taken on the appeal by this Court until a filing fee had been paid and that failure to pay the filing fee
 may result in dismissal of the appeal. &nbsp;
See
 
Tex. R. App. P
. 42.3. 

The filing fee was not paid. &nbsp;By letter dated January 22, 2004, the clerk advised counsel for appellant that the filing fee had still not been paid
, and that unless 
the filing fee was received on or before February 2, 2004
, the appeal would be subject to dismissal. 

 	
The filing fee has not been paid
. &nbsp;Accordingly, this appeal is dismissed. &nbsp;
Tex. R. App. P
. 42.3.



Phil Johnson

Chief Justice










